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          ·Ao 106 (Rev. 04/10) Application for a Search Warrant
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v,\v                                             UNITED STATES DISTRICT COURT
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                                                                                                                                                        AM 10: 54
                                                              Southern District of California

                        In the Matter of the Search of                             )
                    (Briefly describe the property to be searched                  )
                     or identijj; the person by name and address)

                (1) Facebook account associated with "sua.meza"
                                                                                   )
                                                                                   )
                                                                                               CaseNo.113    MJ9 2 7 3
                                                                                   )
                                                                                   )

                                                        APPLICATION FOR A SEARCH WARRANT
                   I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
           penalty of perjury that I have reason to believe that on the following person or property (identijj; the person or describe the
           property to be searched and give its location):

               See Attachment A, incorporated herein by reference.
           located in the             Southern               District of               California         , there is now concealed (identifj; the
                                                                           ~-----------

           person or describe the property to be seized):
               See Attachment B, incorporated herein by reference


                     The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                            ii evidence of a crime;
                            0 contraband, fruits of crime, or other items illegally possessed;
                            ~property designed for use, intended for use, or used in committing a crime;
                            0 a person to be arrested or a person who is unlawfully restrained.
                     The search is related to a violation of:
                        Code Section                                                         Offense Description
                   21 use 841, 846, 952, 960,                 Possession with intent to distribute controlled substance; Importation of a
                   963                                        Controlled Substance; Conspiracy to commit same

                     The application is based on these facts:
                   See attached Affidavit of Special Agent Christian Sanders

                      ~ Continued on the attached sheet.
                      0 Delayed notice of          days (give exact ending date if more than 30 days: _ _,__ _ _ )is requested
                          under 18 U.S.C. § 3103a, the basis of which is set forth on the attached ~t.




                                                                                                         Printed name and title

           Sworn to before me and signed in my presence.


           Date:                                                  er..~.



           City and state: El Centro, CA                                                                Hon. Peter C. Lewis
                              ------------~
                                                                                                         Printed name and title
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  ~""' ~ii\2'
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 ~\2      1      AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
          2        I, Angela Forbes, being first duly sworn, hereby state as follows:
          3                                       Purpose of Affidavit
          4        1.    I make this affidavit in support of an application for a search warrant for
          5 Facebook, Inc. ("Facebook"), 1601 Willow Road, Menlo Park, California 94025, to search
          6 the following account, as further described in Attachment A (hereinafter, "Target
          7 Account"), for items that constitute evidence, fruits and instrumentalities of violations of
          8 federal criminal law, namely, 21 U.S.C. §§ 952, 960 and 963 (importation of controlled
          9 substances and conspiracy to do the same), as described in Attachment B, for the period
        1o from August 1, 2016 up to and including May 3, 2017:
        11               A.     Facebook user ID "sua.meza" ("Subject Account").
        12                        Agent Background, Experience and Training
        13         2.    I am a Special Agent of the United States Department of Homeland Security
        14 ("DHS"), Homeland Security Investigations ("HSI") and have been so employed since
        15 June 2010. Prior to joining HSI, I received a Bachelor's degree in Criminal Justice. I was
        16 also employed as a Criminal Investigator for the Department of Defense for approximately
        17 six (6) years. I am a graduate of the Criminal Investigator Training Program at the Federal
        18 Law Enforcement Training Center. I am presently assigned to the Child Exploitation Group
        19 ("CEG") in Calexico, California. I am cross designated by the United States Drug
        20 Enforcement Administration to conduct narcotics investigations and enforce the provisions
        21 of the Federal Controlled Substance Act, pursuant to Title 21, United States Code.
        22         3.    I have received training in investigating various narcotics-related offenses,
        23 including the importation of narcotics and narcotics trafficking. I have also had training in
        24 the methods used by controlled substance traffickers to import and distribute drugs and to
        25 operate detailed distribution networks. Since becoming an HSI Special Agent, I have been
        26 involved in numerous narcotics trafficking investigations involving the importation,
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 1 distribution and sale of large quantities of controlled substances. I have also worked with
 2 other agents with extensive experience in narcotics smuggling investigations.
 3        4.    My duties include investigating the illegal importation and trafficking of
 4 narcotics. In the course of my duties, I have worked as the case agent, directing specific
 5 drug-related investigations; I have worked as a surveillance agent and observed and
 6 recorded movements of individuals trafficking in drugs and of those suspected of
 7 trafficking in drugs; I have participated in the execution of numerous search warrants; I
 8 have initiated and executed numerous arrests for drug-related offenses, including the
 9 importation of controlled substances; and I have interviewed defendants, witnesses and
1o informants relating to the illegal trafficking of controlled substances.      Through my
11 observations and these interviews, I have gained a working knowledge and insight into the
12 normal operational habits of narcotics smugglers, with particular emphasis on those who
13 attempt to import narcotics into the United States from Mexico at the International Ports
14 ofEntry.
15        5.    Through the course of my training, investigations and conversations with
16 other law enforcement personnel, I am aware that it is a common practice for narcotics
17 smugglers to work in concert with other individuals and to do so by utilizing social media
18 platforms and applications, such as Facebook, to maintain communications with co-
19 conspirators in order to further their criminal activities. Conspiracies involving narcotics
20 smuggling generate many types of evidence including, but not limited to, Facebook
21 Messenger chat messages referring to the arrangements of travel and payment, names,
22 photographs, text messages, emails, instant messages, social networking messages, and
23 phone numbers of co-conspirators.
24        6.    The information contained in this affidavit is based on my personal experience
25 and training, consultation with other special agents and other law enforcement officers.
26 The evidence and information contained herein was developed from interviews with
27 suspects, co-conspirators, queries of law enforcement databases, information gained


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 1 through the use of consent searches and personal knowledge of the on-going criminal
 2 investigation. Because this affidavit is submitted for the limited purpose of securing a
 3 search warrant as described herein, it does not include every fact known to me concerning
 4 the investigation.
 5         7.    Based on my training and experience and the facts as set forth in this affidavit,
 6 there is probable cause to believe that violations of 21 U.S.C. §§ 952, 960 and 963
 7 (importation of controlled substances and conspiracy to do the same) have been committed
 8 by Sua Meza-Rosales ("MEZA"). There is also probable cause to search the information,
 9 as described in Attachment A, for evidence of these crimes and contraband or fruits of
1O these crimes, as described in Attachment B.
11                          BACKGROUND REGARDING FACEBOOK, INC.
12         8.       Facebook, Inc. is an Internet company which, among other things, provides
13 electronic    communication      services   to   its   subscribers.   Facebook's    electronic
14 mail/communication service allows Facebook subscribers to communicate and share with
15 other Facebook subscribers and with others through the Internet. Facebook subscribers
16 access Facebook's services through the Internet.
17         9.    Subscribers to Facebook use screen names during communications with
18 others. The screen names may or may not identify the real name of the person using a
19 particular screen name. Although Facebook requires users to subscribe for a free Facebook
20 account, Facebook does not verify the information provided by the Facebook subscriber
21 for its free services.
22         10.   At the creation of a Facebook account and for each subsequent access to the
23 account, Facebook logs the Internet Protocol ("IP") address of the computer accessing the
24 account. An IP address is a unique address through which a computer connects to the
25 Internet. IP addresses are leased to businesses and individuals by Internet Service
26 Providers. Obtaining the IP addresses that have accessed a particular Facebook account
27 often identifies the Internet Service Provider that owns and has leased that address to its


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 1 customer. Subscriber information for that customer then can be obtained using appropriate
 2 legal process.
 3        11.   Facebook owns and operates a free-access social networking website of the
 4 same name that can be accessed at http://www.facebook.com. Facebook allows its users to
 5 establish accounts with Facebook, and users can then use their accounts to share written
 6 news, photographs, videos, and other information with other Facebook users, and
 7 sometimes with the general public.
 8        12.   Facebook asks users to provide basic contact and personal identifying
 9 information to Facebook, either during the registration process or thereafter. This
1o information may include the user's full name, birth date, gender, contact e-mail addresses,
11 Facebook passwords, Facebook security questions and answers (for password retrieval),
12 physical address (including city, state, and zip code), telephone numbers, screen names,
13 websites, and other personal identifiers.     Facebook also assigns a user identification
14 number to each account.
15        13.       Facebook users may join one or more groups or networks to connect and
16 interact with other users who are members of the same group or network. Facebook assigns
17 a group identification number to each group. A Facebook user can also connect directly
18 with individual Face book users by sending each user a "Friend Request." If the recipient
19 of a "Friend Request" accepts the request, then the two users will become "Friends" for
20 purposes of Facebook and can exchange communications or view information about each
21 other. Each Facebook user's account includes a list of that user's "Friends" and a "News
22 Feed," which highlights information about the user's "Friends," such as profile changes,
23 upcoming events, and birthdays.
24        14.       Facebook users can select different levels of pnvacy for the
25 communications and information associated with their Facebook accounts. By adjusting
26 these privacy settings, a Facebook user can make information available only to himself or
27 herself, to particular Facebook users, or to anyone with access to the Internet, including


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 1 people who are not Facebook users. A Facebook user can also create "lists" of Facebook
 2 friends to facilitate the application of these privacy settings. Facebook accounts also
 3 include other account settings that users can adjust to control, for example, the types of
 4 notifications they receive from Facebook.

 5        15.      Facebook users can create profiles that include photographs, lists of
 6 personal interests, and other information. Facebook users can also post "status" updates
 7 about their whereabouts and actions, as well as links to videos, photographs, articles, and
 8 other items available elsewhere on the Internet. Facebook users can also post information
 9 about upcoming "events," such as social occasions, by listing the event's time, location,
1o host, and guest list. In addition, Facebook users can "check in" to particular locations or
11 add their geographic locations to their Facebook posts, thereby revealing their geographic
12 locations at particular dates and times. A particular user's profile page also includes a
13 "Wall," which is a space where the user and his or her "Friends" can post messages,
14 attachments, and links that will typically be visible to anyone who can view the user's
15 profile.
16        16.      Facebook allows users to upload photos and videos, which may include any
17 metadata such as location that the user transmitted whens/he uploaded the photo or video.
18 It also provides users the ability to "tag" (i.e., label) other Facebook users in a photo or
19 video. When a user is tagged in a photo or video, he or she receives a notification of the
20 tag and a link to see the photo or video. For Facebook's purposes, the photos and videos
21 associated with a user's account will include all photos and videos uploaded by that user
22 that have not been deleted, as well as all photos and videos uploaded by any user that have
23 that user tagged in them.
24        17.      Facebook users can exchange private messages on Facebook with other
25 users. These messages, which are similar to e-mail messages, are sent to the recipient's
26 "Inbox" on Facebook, which also stores copies of messages sent by the recipient, as well
27 as other information. Facebook users can also post comments on the Facebook profiles of


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 1 other users or on their own profiles; such comments are typically associated with a specific
 2 posting or item on the profile. In addition, Facebook has a Chat feature that allows users
 3 to send and receive instant messages through Facebook. These chat communications are
 4 stored in the chat history for the account. Facebook also has a Video Calling feature, and
 5 although Facebook does not record the calls themselves, it does keep records of the date of
 6 each call.
 7        18.      If a Facebook user does not want to interact with another user on Facebook,
 8 the first user can "block" the second user from seeing his or her account.
 9        19.      Face book has a "like" feature that allows users to give positive feedback or
1o connect to particular pages. Facebook users can "like" Facebook posts or updates, as well
11 as webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can
12 also become "fans" of particular Facebook pages.
13        20.      Facebook has a search function that enables its users to search Facebook
14 for keywords, usemames, or pages, among other things.
15        21.      Each Facebook account has an activity log, which is a list of the user's posts
16 and other Facebook activities from the inception of the account to the present. The activity
17 log includes stories and photos that the user has been tagged in, as well as connections
18 made through the account, such as "liking" a Facebook page or adding someone as a friend.
19 The activity log is visible to the user but cannot be viewed by people who visit the user's
20 Facebook page.
21        22.      Facebook Notes is a blogging feature available to Facebook users, and it
22 enables users to write and post notes or personal web logs ("biogs"), or to import their
23 biogs from other services, such as Xanga, LiveJoumal, and Blogger.
24        23.      The Facebook Gifts feature allows users to send virtual "gifts" to their
25 friends that appear as icons on the recipient's profile page. Gifts cost money to purchase,
26 and a personalized message can be attached to each gift. Facebook users can also send each
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 1 other "pokes," which are free and simply result in a notification to the recipient that he or
 2 she has been "poked" by the sender.
 3        24.        Facebook also has a Marketplace feature, which allows users to post free
 4 classified ads.    Users can post items for sale, housing, jobs, and other items on the
 5 Marketplace.
 6        25.        In addition to the applications described above, Facebook also provides its
 7 users with access to thousands of other applications ("apps") on the Facebook platform.
 8 When a Facebook user accesses or uses one of these applications, an update about that the
 9 user's access or use of that application may appear on the user's profile page.
1o        26.        Face book uses the term "Neoprint" to describe an expanded view of a given
11 user profile. The "Neoprint" for a given user can include the following information from
12 the user's profile: profile contact information; News Feed information; status updates;
13 links to videos, photographs, articles, and other items; Notes; Wall postings; friend lists,
14 including the friends' Facebook user identification numbers; groups and networks of which
15 the user is a member, including the groups' Facebook group identification numbers; future
16 and past event postings; rejected "Friend" requests; deleted friends; comments; gifts;
17 pokes; tags; and information about the user's access and use of Facebook applications.
18        27.        Facebook also retains Internet Protocol ("IP") logs for a given user ID or
19 IP address. These logs may contain information about the actions taken by the user ID or
20 IP address on Facebook, including information about the type of action, the date and time
21 of the action, and the user ID and IP address associated with the action. For example, if a
22 user views a Facebook profile, that user's IP log would reflect the fact that the user viewed
23 the profile, and would show when and from what IP address the user did so.
24        28.        Social networking providers like Facebook typically retain additional
25 information about their users' accounts, such as information about the length of service
26 (including start date), the types of service utilized, and the means and source of any
27 payments associated with the service (including any credit card or bank account number).


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 1 In some cases, Facebook users may communicate directly with Facebook about issues
 2 relating to their accounts, such as technical problems, billing inquiries, or complaints from
 3 other users. Social networking providers like Facebook typically retain records about such
 4 communications, including records of contacts between the user and the provider's support
 5 services, as well as records of any actions taken by the provider or user as a result of the
 6 communications.
 7        29.      As explained herein, information stored in connection with a Facebook
 8 account may provide crucial evidence of the "who, what, why, when, where, and how" of
 9 the criminal conduct under investigation, thus enabling the United States to establish and
1o prove each element or alternatively, to exclude the innocent from further suspicion. In my
11 training and experience, a Facebook user's "Neoprint," IP log, stored electronic
12 communications, and other data retained by Facebook, can indicate who has used or
13 controlled the Facebook account. This "user attribution" evidence is analogous to the
14 search for "indicia of occupancy" while executing a search warrant at a residence. For
15 example, profile contact information, private messaging logs, status updates, and tagged
16 photos (and the data associated with the foregoing, such as date and time) may be evidence
17 of who used or controlled the Facebook account at a relevant time. Further, Facebook
18 account activity can show how and when the account was accessed or used. For example,
19 as described herein, Facebook logs the Internet Protocol (IP) addresses from which users
20 access their accounts along with the time and date. By determining the physical location
21 associated with the logged IP addresses, investigators can understand the chronological and
22 geographic context of the account access and use relating to the crime under investigation.
23 Such information allows investigators to understand the geographic and chronological
24 context of Facebook access, use, and events relating to the crime under investigation.
25 Additionally, Face book builds geo-location into some of its services. Geo-location allows,
26 for example, users to "tag" their location in posts and Facebook "friends" to locate each
27 other. This geographic and timeline information may tend to either inculpate or exculpate


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 1 the Facebook account owner. Last, Facebook account activity may provide relevant insight
 2 into the Facebook account owner's state of mind as it relates to the offense under
 3 investigation. For example, information on the Facebook account may indicate the owner's
 4 motive and intent to commit a crime (e.g., information indicating a plan to commit a crime),
 5 or consciousness of guilt (e.g., deleting account information in an effort to conceal
 6 evidence from law enforcement).
 7        Therefore, the computers ofFacebook are likely to contain all the material described
 8 above, including stored electronic communications and information concerning
 9 subscribers and their use of Facebook, such as account access information, transaction
1o information, and other account information.
11                                       PROBABLE CAUSE

12        30.      The information contained in Paragraphs 31to36 of this affidavit are based
13 on my review of reports, dated May 3, 2017, prepared by Customs and Border Protection
14 Officers ("CBPOs") H. Vanheyningen, E. Pelayo, and C. Penzel.
15        31.      On May 3, 2017, at approximately 19:22 hours, CBPOs were conducting
16 pre-primary operations at the Calexico, California West Port of Entry. CBPOs encountered
17 a Honda Civic bearing California license plate 6NTT716 ("the vehicle"). The driver of the
18 vehicle was later identified as Sua MEZA-ROSALES ("MEZA"), who was accompanied
19 by her one week old son in a car seat. CBPOs obtained a negative Customs declaration
20 from MEZA, who stated she was only entering with an air conditioning unit. MEZA told
21 CBPOs that she was traveling to Indio, California.
22        32.      As MEZA's vehicle approached Vehicle Primary Lane 8, CBPOs requested
23 the assistance of a Canine Enforcement Officer ("CEO") and the assigned Human
24 Narcotics Detector Dog ("HNDD"). The screening resulted in a positive alert to the
25 vehicle's dashboard area. Upon receiving notification of the positive HNDD alert, CBPOs
26 referred MEZA's vehicle to secondary inspection for Z-portal X-ray imaging.
27


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 1        33.      CBPOs screened MEZA'S vehicle using the Z-Portal X-Ray machine, and
 2 detected anomalies in the firewall area. MEZA and her infant child were escorted to the
 3 Vehicle Secondary Office.
 4        34.      CBPOs conducted further inspection of the vehicle, where they discovered
 5 fresh mud in the front tire wells. CBPOs drilled a hole into the passenger side, front tire
 6 well. Upon removing the drill, CBPOs observed plastic cellophane on the drill bit. CBPOs
 7 probed the hole made by the drill and discovered a crystal-like substance, which field-
 8 tested positive for methamphetamine.
 9        35.      The front tires and fenders were removed from the vehicle, revealing an
1o access plate in each tire well. A total of thirty-nine (39) packages were removed from a
11 non-factory compartment built into the vehicle's firewall. The substance in the packages
12 were later confirmed by the DEA laboratory to be 13.79 kilograms (30.4 pounds) of pure
13 methamphetamine.
14        36.      MEZA was arrested in violation of 21 U.S.C. § 952 & 960, Importation of
15 Controlled Substances.
16        3 7.     CBPO E. Pelayo verbally informed me that MEZA had a Black ZTE Cell
17 Phone in her possession at the time of arrest, and that CBPO E. Pelayo discovered the Black
18 ZTE Cell Phone inside a diaper bag for MEZA' s infant child.
19        38.      A Federal search warrant was issued for the ZTE Cell Phone and it was
20 subsequently forensically examined. See 17-mj-8869. The forensic results identified
21 several email messages from Facebook, Inc. on the day of MEZA's arrest, indicating the
22 Subject Account was active during the time of MEZA's crossing into the United States on
23 May 3, 2017.
24        39.      During MEZA's trial, from May 1, 2018 to May 3, 2018, MEZA testified
25 that she utilized Facebook to communicate with others, who she claimed to be family
26 members, in coordinating her arrivals and departures to Mexico. The trial resulted in a
27 mistrial due to a hung jury.


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 1       40.      Based upon my experience and investigation in this case, and others, I
 2 believe that MEZA, as well as other persons as yet unknown, were involved in an on-going
 3 conspiracy to import methamphetamine or some other prohibited narcotics and to distribute
 4 those prohibited narcotics within the United States. Based on my investigation of drug
 5 importation and distribution conspiracies, Social Media contact with smugglers can begin
 6 months or weeks before drugs are loaded in the car and includes coordination on crossing
 7 the border to "burn plates" (develop a crossing history or pattern). MEZA's border crossing
 8 history indicates that she frequently crosses in her vehicle, which contained an after-market
 9 secret compartment for concealing contraband. Specifically, between August 2016 and the
1o time of her arrest, MEZA crossed in her vehicle 27 times. Further, MEZA testified that she
11 met a contact saved in her phone as "La Tia" around November 2016. MEZA further told
12 the jury that "La Tia" was actually her secret boyfriend. Despite MEZA' s characterization,
13 MEZA's phone communication with "La Tia" revolved around MEZA's crossing into the
14 United States from Mexico. Factoring all considerations, I believe the Subject Account was
15 likely used in furtherance of the importation conspiracy beginning as early as August 2016.
16 Given these facts, I respectfully request permission to search the Subject Account for data
17 beginning on August 1, 2016, up to and including May 3, 2017.
18        41.      Based on my experience investigating narcotics smugglers, I also believe
19 that MEZA may have used the Subject Account to coordinate with co-conspirators
20 regarding the importation and delivery of the methamphetamine, and to otherwise further
21 this conspiracy both inside and outside the United States. I also know that chat messages
22 sent and received, Status Updates, Facebook phone and video calls, contact and "Friends"
23 names, "Pages" or "Groups", IP Addresses, Geo locations, and posts from social
24 networking sites like Facebook, pictures and other digital information are stored by
25 Facebook, which identify other persons involved in narcotics trafficking activities.
26        42.      Based upon my experience and training, consultation with other law
27 enforcement officers experienced in narcotics trafficking investigations, and all the facts


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 1 and opinions set forth in this affidavit, I believe that information relevant to the narcotics
 2 smuggling activities of MEZA and her co-conspirators, such as chat messages sent and
 3 received, Status Updates, Facebook phone and video calls, contact and "Friends" names,
 4 "Pages" or "Groups", IP Addresses, Geo locations, posts, pictures and other digital
 5 information are stored by Facebook.
 6        43.       A public search revealed that MEZA 1s usmg the Facebook user ID
 7 "sua.meza."

 8                             PRIOR ATTEMPTS TO OBTAIN DATA
 9        44.       Except as otherwise mentioned above, the United States has not attempted
1O to obtain this data by other means.
11                              GENUINE RISKS OF DESTRUCTION
12        45.       Based upon my experience and training, and the experience and training of
13 other agents with whom I have communicated, electronically stored data can be
14 permanently deleted or modified by users possessing basic computer skills.
15              PROCEDURES FOR ELECTRONICALLY STORED INFORMATION
16        46.     Federal agents and investigative support personnel are trained and
17 experienced in identifying communications relevant to the crimes under investigation. The
18 personnel ofFacebook are not. It would be inappropriate and impractical for federal agents
19 to search the vast computer network of the Facebook for the relevant accounts and then to
20 analyze the contents of those accounts on the premises of Facebook. The impact on the
21 Facebook's business would be severe.
22        4 7.    Therefore, I request authority to seize all content, including electronic mail
23 and attachments, stored instant messages, stored voice messages, photographs and any
24 other content from the Facebook accounts, as described in Attachment A. In order to
25 accomplish the objective of the search warrant with a minimum of interference with the
26 business activities ofFacebook, to protect the rights of the subject of the investigation and
27 to effectively pursue this investigation, authority is sought to allow Facebook to make a


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 1 digital copy of the entire contents of the accounts subject to seizure. That copy will be
 2 provided to me or to any authorized federal agent. The copy will be forensically imaged
 3 and the image will then be analyzed to identify communications and other data subject to
 4 seizure pursuant to Attachment B. Relevant data will be copied to separate media. The
 5 original media will be sealed and maintained to establish authenticity, if necessary.
 6        48.    Analyzing the data to be provided by Facebook requires special technical
 7 skills, equipment and software.       It also can be very time-consuming.     Searching by
 8 keywords, for example, often yields many thousands of "hits," each of which must be
 9 reviewed in its context by the examiner to determine whether the data is within the scope
1o of the warrant. Merely finding a relevant "hit" does not end the review process. Certain
11 file formats do not lend themselves to keyword searches. Keywords search text. Many
12 common electronic mail, database and spreadsheet applications, which files may have been
13 attached to electronic mail, do not store data as searchable text. The data is saved in a
14 proprietary non-text format. And, as the volume of storage allotted by service providers
15 increases, the time it takes to properly analyze recovered data increases dramatically.
16        49.    Based on the foregoing, searching the recovered data for the information
17 subject to seizure pursuant to this warrant may require a range of data analysis techniques
18 and may take weeks or even months. Keywords need to be modified continuously based
19 upon the results obtained. The personnel conducting the segregation and extraction of data
20 will complete the analysis and provide the data authorized by this warrant to the
21 investigating team within ninety (90) days of receipt of the data from the service provider,
22 absent further application to this court.
23        50.    Based upon my experience and training, and the experience and training of
24 other agents with whom I have communicated, it is necessary to review and seize all
25 electronic mails that identify any users of the subject account(s) and any electronic mails
26 sent or received in temporal proximity to incriminating electronic mails that provide
27 context to the incriminating mails.


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 1        51.    All forensic analysis of the imaged data will employ search protocols directed
 2 exclusively to the identification, segregation and extraction of data within the scope of this
 3 warrant.
 4        INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED
 5        52.      I anticipate executing this warrant under the Electronic Communications
 6 Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and2703(c)(l)(A), by using
 7 the warrant to require Facebook to disclose to the government copies of the records and
 8 other information (including the content of communications) particularly described in
 9 Section I of Attachment B. Upon receipt of the information described in Section I of
1o Attachment B, government-authorized persons will review that information to locate the
11 items described in Section II of Attachment B.
12
13                                           CONCLUSION
14        53.      Based upon the foregoing, specifically the following, I believe there is
15 probable cause to believe the items identified in Attachment B have been used in the
16 commission of a crime and constitute evidence, fruits, and instrumentalities of violations
17 of21 U.S.C. §§ 952, 960 and 963, and will be found on the item to be searched, as provided
18 in Attachment A.
19
20
          Angela Forbes /
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          Special Age , omeland Security Investigations
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23        Subscribed and sworn to before me this       -i.a~    day of May, 2018.
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          United States Magistrate Judge
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